Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 1 of 57

+
‘

FILED.
‘U.S. DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT DISTRICT OF COLOR ADO
FOR THE DISTRICT OF GOLORADO - 2015 OCT 15 PH. 3:19
Civil Action No JEEP REY P. COLWELL
CLERK
STANLEY EUGENE DAVES. BY_____DEP. CLK

Plaintiff,

”

a
1
‘ é

ADAMS COUNTY GOVERNMENT, COLORADO, a Government Entity,
4430 Adams County Pkwy,

Brighton, Colorado. 80601

Phone No. 1+ (303)659-2120

The Adams County Government is being sued in their official capacity

ADAMS COUNTY COLORADO BOARD OF COMMISSIONERS,

4430 S Adams County Pkwy, unit C5000A

Brighton, Co 80601

Phone (720)523-6100 ' .

The Adams County Board of Commissioners are -being sued in their official and individual
capacity,
ADAMS COUNTY’ SHERIFF MICHAEL MCINTOSH,

332 N. 9" Ave |

Brighton, Co 80601

Phone (303)654-1850 y

Adams County Sheriff Michael McIntosh is being sued in their official and individual capacity,
ADAMS COUNTY DETENTION FACILITY SARGEANT COMMANDER WRIGHT,
C/O Adams County Detention Facility

150 N 19th Ave

Brighton, CO 80601

Page 1 of 56
Case No. 1:19-cv-02928-KLM Document‘1 filed 10/15/19 USDC Colorado pg 2 of 57 a

4

f
Phone (303)654-1850 '

. ‘ i
Adams County Sergeant Commander Wright is being sued in his official and individual capacity,
.* + 4 ‘ . .

¢

ADAMS COUNTY DETENTION FACILITY SARGEANT COMMANDER MYKELANN
WISE,

C/O Adams County Detention Facility

150 N 19th Ave

Brighton, CO 80601 ‘ y
Plone (303)654-1850 ss

z ¥

Adams County Sergeant Commander Mykelann Wise is being sued in his official and individual

‘capacity,

.
‘ * ?

~

V

ADAMS COUNTY SHERIFF DEPUTY LEONARD VASQUEZ,
C/ O Adams County Detention Facility : ,
150 N:19th Ave “
Brighton, CO 80601 :

Phone (303)654-1850

&

Adams County, Deputy Sheriff Leonard Vasquez is being sued in his official and individual

4 *
capacity, , '
+

ADAMS COUNTY SHERIFF DEPUTY SCOTT FANSELOW, '
C/O Adams County Detention Facility...
_ 150.N 19th Ave

Brighton, CO 80601

Phone (303)654-1850 ”
‘Adams County Deputy Sheriff Scott Fanselow is being sued in his official and individual

capacity, , ,

Page 2 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 3 of 57

f

ADAMS COUNTY DETENTION. FACILITY EMPLOYEE, VICTOR RAMIREZ,
SANDOVAL

C/O Adams County Detention Facility

150 N 19th Ave ,

Brighton, CO 80601

Phone (303)654-1850

Adams County Detention Facility employee Victor Ramirez, Sandoval is being sued in his

official and individual capacity,

ADAMS COUNTY SHERIFF DEPUTY STANLEY WATSON;
C/O Adams County Detention Facility
150 N 19th Ave °

Brighton, CO 80601

Phone (303)654-1850

Adams County Deputy Sheriff Stanley Watson is being sued in his official and individual

capacity,

ADAMS COUNTY SHERIFF DEPUTY ADAM MOHR,

C/O Adams County Detention Facility

150 N 19th Ave

Brighton, CO 80601 ok

Phone (303)654-1850 ‘

Adams County Deputy Sheriff Adam Mohr is being sued in his official and individual capacity,

ADAMS COUNTY SHERIFF DEPUTY. CRISTAIN CRUZ,

c/o Adams County Detention Facility

150 N 19th Ave

Brighton, CO 80601

Phone (303)654-1850
Adams County Deputy Sheriff Christian Cruz is being sued in his official and individual

capacity,

Page 3 of 56
Case No. 1:19-tv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 4 of 54%

ADAMS COUNTY SHERIFF DEPUTY CORY ANDERSON,

C/O Adams County Detention F acility

150 N 19th Ave .

Brighton, CO 80601 ‘

Phone (303)654-1850

Adams County Deputy Sheriff Cory Anderson is being sued in his official and individual
capacity, .

ADAMS COUNTY SHERIFF DEPUTY BRADLEY FRANCH,

C/O Adams County Detention Facility

150 .N 19th Ave ,

Brighton, CO 80601.

Phone (303)654-1850 '
Adams County Deputy Sheriff Bradley French is being sued in his official and individual
capacity, ”
ADAMS COUNTY SHERIFF DEPUTY JONATHAN ROHDE.

C/O Adams County Detention Facility ‘ , .
150 N 19th Ave
Brighton, CO 80601
Phone (303)654-1850 .

Adams County Deputy Jonathan’ Rohde is being sued in his official and individual capacity,

ADAMS COUNTY SHERIFF DEPUTY MATTHEW THORNTON

C/O Adams County Detention Facility .

150 N 19th Ave: -

Brighton, CO 80601

Phone (303)654-1850

Adams County Deputy Sheriff Matthew Thornton is being sued in his official and individual

t

capacity; ,

4

Page 4 of 56 ; ,
Case No. 1:19-cv-02928-KLM Document:1 filed 10/15/19 USDC Colorado pg 5 of 57

ADAMS COUNTY SHERIFF DEPUTY CHARLES GOODNIGHT
C/O Adams County Detention Facility

150 N 19th Ave

Brighton, CO 80601

Phone (303)654-1850 ‘

Adams County Deputy Sheriff Charles Goodnight is being sued in his official and individual

capacity,

CORRECT CARE SOLUTIONS, LLC,
1283 Murfreesboro Pike Ste'500,
Nashville, TN 37217
Phone 1+ (800)592-2974
Correct Care Solutions is being sued in their official capacity.
CORRECT CARE SOLUTIONS EMPLOYEE DOCTOR CHRISTOPHER ROSE
C/O Adams County Detention Facility
150 N 19th Ave
Brighton, CO 80601
-‘.Phone (303)654-1 850

Correct Care Solutions employee Doctor Christopher is being suéd in his individual and official ’

capacity. .

CORRECT CARE SOLUTIONS EMPLOYEE NURSE KATELYN
C/O Adams County Detention Facility ,

150 N 19th Ave

Brighton, CO 80601

Phone (303)654- 1850

Correct Care Solutions employee Nurse Katelyn is being sued in her individual and official

‘

capacity.

Page 5 of 56
Case No. 1:19-cv-02928-KLM Document 1° filed 10/15/19 USDC Colorado pg 6-0f57

a :

CORRECT CARE SOLUTIONS EMPLOYEE JANE DOE ONE

C/O Adams County Detention Facility

150 N 19th Ave

Brighton, CO 80601 4

Phone (303)654-1850 . *
Correct,Care Solutions employee Jane Doe One is being sued in her individual and official

capacity. «

CORRECT CARE SOLUTIONS EMPLOYEE JANE DOE TWO °

C/O Adams County Detention Facility

150 N 19th Ave

Brighton, CO 80601

Phone (303)654-1850: . ‘

Correct Care Solutions employee Jane Doe Two is being sued in her individual and official

capacity. ‘

CORRECT CARE SOLUTIONS EMPLOYEE-JANE DOE THREE

C/O Adams County Detention Facility ,

150 N 19th-Ave ou
Brighton, CO 80601 .
Phone (303)654-1850 -

t

Correct Care Solutions employee Jane Doe Three is being sued in her individual and official
capacity. . ,
CORRECT CARE SOLUTIONS EMPLOYEE JANE:DOE FOUR ~
C/O Adams County Detention Facility

150.N 19th Ave

Brighton, CO -80601

Phone (303)654-1850

Page 6 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado ~ pg 7 of-57

Adams County Deputy Sheriff Leonard Vasquez is being sued in her official and individual

capacity,

Defendants:

ORIGINAL COMPLAINT AND JURY DEMAND

Plaintiff, Stanley E. Daves, Pro SA hereby brings this Complaint and allege as follows:

I. | INTRODUCTION:

1. Stanley Daves is a fifty-four year old United States citizen-residing in Brighton Colorado.
Mr. Daves became disabled at the age of seventeen after being struck by a DUI driver
while a pedestrian attempting to change a flat tire ona Colorado highway, resulting i in
traumatic brain and internal i injuries, and the amputation of his left leg and subsequently
PTSD.

2. Stanley Eugene Daves is filing this action for events that took place from October 20,
2017 through June 12, 2018 at the Adams County Detention Facility in Brighton
Colorado, following his arrest on a warrant on October 06, 2017.

: i

3. This is a case about the intentional abuse of Stanley Daves, an “at risk disabled adult
male” being detained at the Adams County Detention Facility. The Defendants had a
simple responsibility to insure the safety and well- -being of the Plaintiff and to make sure’

he appeared i in court.

4. Defendants knowingly, improperly, and with deliberate indifference to the Plaintiffs
established constitutional rights, failed to operate ACDF in a lawfil and constitutional
manner by failing provide. to services that were made readily available to non disabled
detainees. The Plaintiff sustained serious ‘physical injury and psychological harm as a

proximate result of Defendants’ policies and the actions to effectuate those policies.

§

Page 7 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC-Colorado pg 8 of 57

10.

i

4
,

Defendants’. actions as described herein were taken in’ accordance with ACDF custom,

policy, and/or practice.

Defendants-persisted in these policies and actions even after being made awaré of their
unconstitutionality by people within the general public, employees of the ACDF and ~

attomeys visiting prisoners. Therefore Defendants were well aware of that these policies .

oe

‘and actions were in violation of state and federal law.

: +

Defendants persisted in these policies and actions after assuring the Plaintiff that they
would céase illegal actions.

Defendants violated ‘the rights of Stanley Daves under the First and Sixth Amendment of
the Constitution of the United States of ‘America, the Due Process Clause “No
Punishment”, the Equal Protection Clause, Failure to Provide Medical Care and
Treatment and Municipal Liability of the Fourteenth Amendment to the Constitution of
the United Statés of America, the Rehabilitation Act of 1973, and the Americans-with-

’

Disabilities Act. - ‘

Plaintiffs rights were further violated by Adams County and Defendant Supervisory
Officials when, based upon official custom, policy, and/or practice, the Adams County
Government and Defendant Supervisors’ failed to take adequate steps to either train’ or

supervise their subordinate. . ,

Defendants were deliberately indifferent to their knowledge that Plaintiff was suffering ‘

physical and emotional injuries as a result of their custom, policies, and practices.

Defendants continued their abusive and illegal course of action despite this knowledge.

Defendants’ conduct was so obviously violative of Plaintiff's rights and Plaintiff's

resulting injuries so severe that it is shocking to the conscience.

&

4 . ws

Page 8 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19" USDC Colorado pg 9 of 57

11.

t

Defendants’ conduct under color of law proximately caused the deprivation of Plaintiff s

federally protected rights resulting in grievous injuries. Defendants’ conduct was done

” willfully and wantonly and/or with reckless disregard of Plaintiff's rights and feelings.

12.

13.

14.

15.

16.

Stanley Daves continues to suffer the results of the extensive abuses he ‘was subjected to

by Defendants.

This is an action for damages and other relief arising under the United States Constitution

and the laws of the United States.

Il. JURISDICTION:
This action arises under the Constitution and the laws of the United States, and is brought
pursuant to Title 42 U.S.C. § 1983

Jurisdiction is conferred on this Court pursuant to 28 U.S.C. § § 1331 and 1367.
Jurisdiction supporting Plaintiff's claims for attorney fees and costs is conferred by 42
U.S.C. § 1988 and 42 U.S. C. § 12131, 12133 et seq. 29 U.S.C. 794a AND 28C.F.R.
53.101 et’ seq.

Venue is proper in the District of Colorado pursuant to 28 U.S.C. §1391(b). All the
events alleged herein occurred within the State of Colorado, and all of the patties are

residents of the State.

Il. PARTIES
A. PLAINTIFF INFORMATION
Stanley E. Daves
1523 Cherry Street,
Brighton, Colorado. 80601.
Home phone no. (303)654-8298 Cell phone no. (720)755-0902

Email address 6765stanley@gmail.com *

Page 9 of 56 ‘
Case No. 1:19-cv-02928-KLM Document 1 filéd 10/15/19 USDC Colorado pg 10 of 57

17.

18.

19.

20.

21.

At all times pertinent hereto, the Plaintiff, Stanley E. Daves, was a citizen of the United
States of America and a resident of the State of Colorado “being detained at the Adams
County Detention Facility.

a

B. DEFENDAN1(S) INFORMATION:

“Adams County” is a political subdivision of the State of Colorado and is the public
entity responsible for Adams County-and the Adams County Detention Facility (ACDF").
ACDF is operated by the Adams County Sheriff's Department:

At all times relevant to the subject matter of this litigation, Defendant Sheriff Michael
McIntosh was'a citizen of the United States and a resident of Colorado. At all relevant
time Michael McIntosh was acting under color of state law i in his capacity as the Adams
County Sheriff. Defendant McIntosh was responsible for training and supervising all
other Defendants and other employees of the Adams County Sheriffs Department
working at ACDF, for setting jail policy for the county and the overall management of

ACDF, and for i insuring the health and welfare of all persons detained in ACDF,

The Adams County Board of Commissioners. The county commissioners are
constitutional officers who act collectively as the governing board in charge of
controlling, maintaining, and supervising county property, auditing and authorizing of
claims against the county, receiving bids and authorizing contracts, including contracts
with medical providers for the county jail and the Colorado Department of Corrections
for placement of inmates in county jail The powers granted to the board by the state are
broad, which allow the board independence in judgment. At all relevant time the Adams

County Board of Commissioners was acting undér color of state law in their official

hs
$

capacity.
!

Defendant(s) Adams County, Adams County Board of Commissioners and Defendant

Sheriff Michael McIntosh, in their official capacity, are collectively refétred to as

“Adams County Defendants.”

Page 10 of 56

ae
Case"No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 11 of 57

» 22:

23.

24.

26.

At all times relevant to the subject matter of this litigation, Defendant Leonard Vasquez
was a Citizen of the United States and a resident of Colorado. At all relevant times,
Defendant Leonard Vasquez was acting under color of state law in his capacity asa’

Deputy Sheriff employed by the Adams County Sheriff's Office.

At all times relevant to the subject matter of this litigation, Defendant Deputy Scott
Fanselow was a citizen of the United States and a resident of Colorado. At all relevant
times, Defendant Scott Fanselow was acting under color of state law in his capacity as a

Deputy Sheriff employed by the Adams County Sheriff's Office.

4

~ k
At all times relevant to the subject matter of this litigation, Defendant Victor Sandoval

Ramirez was a citizen of the United States and a resident of Colorado. At all relevant.
times, Defendant Victor Sandoval Ramirez was acting under color of state law in his
capacity as-a Jail Support Staff and/or a Deputy Sheriff employed by the Adams County
Sheriff's Office. .

. At all times relevant to the subject matter of this litigation, Defendant Sergeant

Commander Wright was a citizen of the United States and a resident of Colorado. At all
relevant times, Defendant Wright was acting under color of state law in his capacity as a

Sergeant Commander was employed by the Adams County Sheriff's Office.

At all times relevant to the subject matter of this litigation, Sergeant Commander

~Mykelann Wise Wright was a citizen of the United States and a resident ‘of Colorado. At

27.

all relevant times, Defendant Sergeant Commander Mykelann ‘Wise was acting under

color of state law in his capacity as a Sergeant Commander was employed by the Adams
County Sheriff's Office.

‘At all times relevaft to the subject matter of this litigation, Defendant Deputy Stanley

Watson was a citizen of the United States and a resident of Colorado. At all relevant

Page 11 of 56
28.

r.

“times, Defendant Deputy Stanley Watson was acting under color of state law in his

capacity as a Deputy Sheriff employed by the Adams County Sheriff's Office.

t

b

At all times relevant to the subject matter of this litigation, Defendant Deputy Adam
. '
Mohr was a citizen of the United States and a resident of Colorado. At all relevant times,

Defendant Adam Mohr was acting under color of state law in his capacity as a Deputy

" Sheriff employed by the Adams County Sheriff’s Office.

29.

30.

31.

32.

33.

t

At all times relevant to the subj ect matter of this litigation, Defendant-Deputy Christian

-Cruz was a citizen of the United States and-a resident of Colorado. At all rélevant times,

Defendant Christian Cruz was acting under color of state law in his capacity as a Deputy
Sheriff employed by the Adams County Sheriff’s Office. .

At all times relevant to the subject matter of this litigation, Defendant Deputy Cory
Anderson was a citizen of the United States and a resident of Colorado. At all relevant

times; Defendant Cory Anderson was acting under color of state- law i in his capacity as a

, Deputy Sheriff.employed by the Adams County Sheriff's office.

a ;

At all times relevant to the subject matter of this litigation, Defendant Deputy Bradley

French was a citizen of the United States and a resident of Colorado. At all relevant

times, Defendant Bradley French was acting under color of state law in his capacity as a °

Deputy Sheriff employed by the Adams County Sheriff's Office.

At all times relevant to the subject matter of this litigation, Defendant Deputy Jonathan

Rohde was a citizen of the United States and a resident of Colorado. At all relevant times,-

Defendant Jonathan Rohde was acting under color of state law i in his capacity as a
Deputy Sheriff employed by the Adams County Sheriffs Office.
At all times televant to the’ subj ect matter of this litigation, Defendant Deputy, Michael

Brown was a citizen of the United States and a resident of Colorado. At all relevant

«

Page'12 of 56

Case No.’ 1:19-cv-02928-KLM ‘Document 1 filed 10/15/19 USDC Colorado pg 12 of 57

e
_Case No. 1:19-¢€v-02928-KLM Document 1 filed 10/15/19 USDC Colorado’ pg 13 of 57

34.

35:

36.

37.

'

times, Defendant Michael Brown was acting under color of state law in his capacity as a

Deputy Sheriff employed by: the Adams County Sheriff's Office.

At all times relevant to the subj ect matter of this litigation, Defendant Deputy Charles
Goodnight was a citizen of the United States and a résident of Colorado. At all relevant
times, Defendant Charles Goodnight was acting under color of state law in his capacity as

a Deputy Sheriff employed by the Adams County Sheriff's Office.

At all times relevant to the subject matter of this litigation, Defendant Deputy Matthew
Thornton was a citizen of the United States and a resident of Colorado. At all relevant
times, Defendant Matthew.Thornton was acting under color of state law i in his capacity as

a Deputy Sheriff employed by the Adams County Sheriff's Office.

Care Solutions Inc. (DBA “Wellpath”) Defendant(s):
Correct Care Solutions, LLC. (“C.C.S.”), now operating under the name of “Wellpath” is
a for-profit Tennessee corporation doing business in the State of Colorado, with its

principal street address located at 1283 Murfreesboro Pike Ste 500, Nashville, TN

37217. C.C.S. performs the typically governmental function of assuming responsibility
for inmate ‘health care. C.C.S. contracts with Adams County to provide medical services

to inmates and detainees at ACDF and supervises and implements such care.

Correct Care Solutions Inc. (“C.C.S”), is a proper-entity to be sued under 42 U. S. C. §
1983 for its deliberately indifferent policies, practices, habits, customs, ‘procedures,

training, and supervision of staff, including individual Defendants, with respéct to the

provision of medical care and treatment for inmates with serious medical needs. At all

relevant times, Correct Care Solutions Inc. (“C.C.S”), was acting under color of state law
and performing a central function of the state, thus making them liable under § 1983. The
conduct of Correct Care Solutions Inc. (*C.C.8”), and ‘its employees and agents, is
chargeable to the government, and Correct Care Solutions Inc. (“C.C.S”), was acting

jointly with the government actors.

Page 13 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/13/19 USDC Colorado pg 14 of 57 os

5

“es

38. At all times relevant to the subject matter of this litigation, Defendant Christopher Rose
was a citizen of the United States and a resident of Colorado. At all relevant times, _ ot
Defendant Rose was acting under color of state law in his capacity as a Medical Doctor

4

employed by Correct Care Solutions Inc. (“C.C.S.”)
i
‘39. At all times relevant to the subj ect matter of this litigation, Defendant Katelyn was a
citizen of the United States and a resident of Colorado. At all relevant times, Defendant
‘ "Katelyn was acting under color of state law in her capacity as‘a Nurse employed by
Correct Care Solutions Inc. (““C.C.S. .") .
.?
40. At all times relevant to the subject matter of this litigation, Defendant Jane Doe One was
a citizen of the United States and a resident of Colorado. At all relevant times, Defendarit +

Jane Doe one was acting under color of state law i in her capacity as a Nurse employed by

Correct Care Solutions Inc. (“C.C.S”). J

‘ >

t

41. At all times relevant to the subj ect matter of this litigation, Defendant Jane Doe Two was

”

a citizeri of the United States and a resident of Colorado. At all relevant times, Defendant
Jane Doe Two was acting under color of state law in her capacity as a Registered Nurse’

employed by.Correct Care Solutions Inc. (“C.C.S”).

, a
r
/ '
k

42. At all times relevant to the subject matter of this litigation, Defendant Jane Doe Three
5
. was a citizen’ of the United States and a resident of Colorado. At all relevant times,
Defendant Jane Doe-Three was acting under color of state law in her capacity.as a Nursé

)

employed by Correct Care Solutions Inc. (“C.C.S”). Vt

*
&

43. At all times relevant to the subject matter of this litigation, Defendant J ane Doe Four was
a Citizen of the United States and a resident of Colorado. At all relevant times, Defendant
Jane Doe Four was acting uider color of state law in her capacity as a Nurse‘employed

by Correct'Care Solutions Inc. (*C.C.S”),.

Page 14 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado’ pg 15 of 57

“TV. FACTUAL ALLEGATIONS: .
44, Thé factual allegations in this complaint are written as if being viewed by a third party

and in chronicle order.

45. On or about October 07, 2017 Plaintiff Stanley. Daves states that after being arrested on a
warrant he was booked itito the Adams County Detention Facility on the following

morning.

46. During the intake process Stanley Daves was relieved of his ‘Smart Puck” equipped
prosthetic leg because it required the use of an,electrical outlet to charge the devise on a
daily basis. At that time the Smart Puck devise was dead and needing charged. The intake
nurse (Jane Doe One) informed Stanley Daves that the charging if his prosthesis wasn’t

possible and that jail policy wouldn’t allow it.

47. Stanley Daves was refused crutches and issued a wheelchair by the mediéal staff Jane

Doe One and temporary housed B unit.

48. On‘or about October 08, 2017 Stanley Daves was classified with a"Bottom Bunk",
"Lower Level" housing/medical restriction because of his disability. Stanley Daves, the
Plaintiff interprets this as "Policy", and prays the Courts will agree with this
Interpretation as meaning: /

a. Bottom Bunk: By "Policy" of the Adams County Government Prisoners' with a
‘bottom bunk only restriction are to be housed in a cell on a bottom bunk "ONLY".
b. Lower Level: By "Policy" of the Adams County Government prisoners with a

lower level restriction are not to be on the stairs or on the upper levels of the

facility.

49. All Defendants were aware or should have been aware of Plaintiffs disability and

classification as “bottom bunk” and “lower level.

Page 15 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 16 of 57

4

50. On October 09, 2017 The Plaintiff Stanley Daves was moved to permanent housing in E
unit. '
51. From October 09, 2017 through June 12, 2018 by order of Doctor Christopher Rose MD,
the Plaintiff was to receive wound care treatment on an ulcerated sore on his stump and
‘ allowed to shower/bath i in a "Handicap Accessible Shower/Bathtub" located in the

4

facility medical unit.

52. On October 09, 2017 at approx. 11:15:00 The Plaintiff Stanley Daves was called to'the E
unit sally port and informed he had a legal visit. The tower officer directed him-to wheel
himself approximately 100 yards to B unit. This was despite the fact that the F unit,
which was about 100 feet away, had a large visiting center located on the lower level of

the facility where the legal visit could have taken place.

~

i

53. Upon arrival to B unit the floor deputy directed hini to an elevator lobby-located on the
: right side of the hallway to B-unit.
54. The deputy inserted a key into the elevator control panel to access the car. The plaintiff
wheeled himself in the elevator..The deputy. followed him-in to the elevator, pushed a
button on’the control panel. The deputy escorted him to the upper level of the sally: port to

a small visiting booth.

55. On October 09, 2017 at approx. 11:51 00 the visit ended. The Plaintiff informed the
tower deputy he was finished with his visit.

56. Within minutes the floor deputy arrived back to the visit area to escort the plaintiff back
down. The deputy inserted a key into the elevator control panel and. accessed the car.
-Stanley Daves wheeled himself in to the elevator fallowed by the deputy. The © deputy

- then escorted him back down to the lower level sally port of B unit.

! : Page 16 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 17 of 57

57.

58.

59.

60.

61.

62.

63.

64.

65.

By order of the deputy, Stanley Daves "without escort" wheeled himself through the
entire length of the facility back to E unit.

?
te
&

Failure to provide elevator services: , '

On October 20, 2017 at approx. 12:37:00 The Plaintiff Stanley Daves was called to the E

unit sally port then: directed to B unit for a legal visit. :

On October 20, 2017 Stanley Daves states that by order of deputy and "without escort"
wheeled himSelf through the entire length of the facility over to B unit. Again, the

visiting center in the F unit was available at this time.

Upon arrival to B unit the tower officer, Mr. Victor Sandoval-Ramirez told the Plaintiff
that the floor Deputy, Scott Fanselow and/or Deputy Leonard Vasquez had stepped away
and would be with him shortly.

Deputies, Scott Fanselow and/or Deputy Leonard Vasquez arrived a few minutes later
then directed the Plaintiff to the same elevator lobby used on October 09, 2017.
Upon arrival to the elevator Deputy Scott Fanselow or Deputy Leonard Vasquez made

several attempts to summons the elevator car without using the key to no avail.

Stanley Daves states that after what seemed to be the passing of two to three minutes, he ©
infornied deputy that on his previous visit the escorting deputy had inserted a key into the
elevator control panel to access the car.

With this information the deputy ordered Stanley Daves to stay put in the elevator lobby
while he allegedly went in search for.the key.

October 20, 2017 at approx. 12:55:00 Deputy Scott Fanselow or Deputy Leonard
Vasquez returned to the elevator hallway alleging that he still had not located the elevator

key.

Page 17 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19" USDC Colofado * pg 18 of 57

66.

67.

68.

69.

70.

71.

72,

73.

*

i é

‘ '

The deputy ordered Stanley Daves to return back into B unit sally port to wait there while -

he continued to search for the key.

October 20, 2017 at approx. 13:00:00 while talking to the inmate porter Stanley Daves
observed Attorney Gordon Sanchez on the upper level visiting area making gestures and
pointing at his watch; as to insinuate "what's the holdup?” °

Stanley, Daves confronted the deputies about the situation, insisting he be taken up.to
meet with his attorney. ,
The deputy told the Plaintiff Stanley Daves that, that was "the only inmate /Handicap
Accessible elevator in the facility" and there was nothing they could be done without the
elevator key. According to the deputy "the key was lost" and he was not going to do
anything else to locate the key. ° , .

Plaintiff was then told that if he needed-to get up to the visit that bad he would have to

“ctawl/hop up” the stairs.

Stanley Daves states he attempted to navigate the stairs by placing his hands on the two,

handrails for support as he attempted to hop on his one leg up the two flights of stairs.

When the Stanley Daves'reached the second to the top stair his foot suddenly slipped out
from undemeath him as if there was a slick substance on the step causing him to slip and
fall, slamming his right shoulder into the handrail.

.

Stanley Daves immediately informed the tower officer, Mr.'Victor Sandoval-Ramirez and

-the deputy(s) of his injury without a response.

Page 18 of 56 - ‘ og
~ Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 19 of 57

74. Without option he continued to crawl on his hands and knees to the visiting booth where
he met with the attorney for Approx. 30 out of the 60 minutes the attorney had set aside
for this meeting. The visit ended at 13:40.00.

75. October 20, 2017 at approx. 13:40:00 Stanley Daves informed the tower officer, Mr.
Victor Sandoval-Ramirez that he was finished with his visit and was ready to come back
down.

76. Allegedly the Defendants Tower officer, Mr. Victor Sandoval-Ramirez, floor Deputy,
Scott Fanselow and Deputy Leonard Vasquez still had not found the key to the elevator.

77. The Defendants Tower officer, Mr. Victor Sandoval-Ramirez, floor Deputy; Scott
Fanselow and.Députy Leonard Vasquez offered no remedy to the situation of getting the
Plaintiff safely back down from the second level of the facility; and although the deputies

t had knowledge of the plaintiff s injury they made no attempt to help the plaintiff back

d

down the stairs.

78. The Defendants made comments along the lines of, “you made it up there by yourself you

can make it back down the same way”.

79: Plaintiff states that as he started his descend down the stairs his foot slipped again on the
same step. Reinforcing the theory that there was a slippery substance present on that step.
- . ) '
80. Stafiley Daves by the Grace of God maintained his balance and grip on the handrail but
the momentum wrenched his arm into his shoulder intensifying the previous injury and

causing him extreme pain. . ,

>

81. The Tower officer, Mr. Victor Sandoval-Ramirez, floor Deputy, Scott Fansélow and
Deputy Leonard Vasquez did nothing to help the Plaintiff safely descend the stairs. “

¥

‘Page 19 of 56
Case No. 1:19-cv-02928-KLM ‘ Document 1 filed 10/15/19 USDC Colorado pg 20 of 57

t ¥

82. October 20, 2017 approx. 13 :45:00 upon reaching the lower sally port and the safety of

the wheelchair the Plaintiff again informed the Deputy(s) that he was injured and now for,

a

a second time and that he believed there was something , on the step that caused him to -

slip and fall. os

83. Plaintiff states that he explained to the Defendants Tower officer, Mr. Victor Sandoval-
Ramirez, floor Deputy, Scott Fanselow and Deputy Leonard Vasquez what had happened

and that he needed medical attention.. .

" 4

=
a
t

84. The Defendants told Stanley Daves that there was nothing they could do to help him and
refused him “access to medical care/attention”.

85. The Defendants told the Plaintiff that-he himself would have to notify the E unit deputy,
of the situation a-well as submit a medical kite when he retuined to his unit. *

86. The Defendants, in spite of Stanley Daves injuries and obvious pain made him wheel |
himself "without escort" across the entire length of the facility back to E unit.

87. Upon arrival back to E-unit the Plaintiff states that he informed the’ tower deputy J ohn

Doe One of the incident and his need for medical attention.

we 1

88. The tower deputy John Doe’ One said he would call the medical unit and page the

Plaintiff when he would be able to go to the medical unit. :

89. October 20, 2017 between 16:00:00 and 18:00:00 Stanley Daves was called'to the

medical unit for the daily prescribed wound care and shower.

90. Upon arrival Stanley Daves siotified the C.C.S. nurse on duty (Katelyn) of the incident
and injury. She informed the Plaintiff that she could not help: that the Plaintiff would

wy

have to write a kite in order to have the shoulder looked at. ,
‘ 4

€

‘Page 20 of 56 . ‘

'
Case No. 1:19-cv-02928-KLM Doctimenti1 filed ‘10/15/19 USDC Colorado pg 21 of 57

f
91. October 20, 2017 at approx.10pm_during the pm med line. Plaintiff submitted a_,

handwritten medical kite to a C.C.S. nurse explaining the incident and requesting medical

‘treatment.

1 t

92. October 20, 2017 through November 29, 2017. The Plaintiff Stanley Daves was allowed
to go to the medical unit’for wound care and shower only. The staff working in the ‘
medical unit continued to refuse the Plaintiff medical attention for his shoulder injury.

93. The Plaintiff states that as a response to his inquiries about treatment he was tepeatedly
told he was on the providers list and would be seen soon. (After researching the previous
legal actions against C.C.S. and their conduct in similar situations it was apparent that
this has been a programmed response by C.C.S. and their staff. Therefore it is believed to
be an actual “policy.” To' avoid expenditures by delaying the prisoners request for

medical care until the prisoner is released or transferred to another facility).

94. October 20, 2017 through December 2017 the plaintiff repeatedly requested medical
attention by kite and verbally but continued to, get the sarne response of “you are on the

providers list.” The Plaintiff was denied effective treatment until February 2018.

4

Failure to provide Telephone Services

95. The Defendants failed to provide reliable telephone service to Stanley Daves for 36+
days. Leaving the Plaintiff in a state of incommunicado, as seen in the Individual Posts,

History for Adams County Detention Facility log dated 11/15/2017 through 12/22/2017.

96. The Plaintiff states that on November 12, 2017 the inmate telephone service in E unit
(Only E unit) stopped working properly. Calls were of such poor quality and full of
constant static neither party could understand what the other was saying. However,
prisoners were still being charged for the attempted calls. Proper service was not fully

restored until December 22, 2017.

Page 21 of 56
4

97. Between the dates of November 18th through December 3% Stanley Daves states that he
submitted numerous handwritten kites and made face to face requests to Deputy Stanley
Watson asking to.use a telephone outside of unit E-6. Perhaps the prisoner phones in
booking he asked. He explained he needed to get in contact with his attorney and family -
members in order to secure his estate, these requests were continually denied by the

Defendant Deputy Stanley Watson and other Adams County, Defendants.

Failure to provide elevator services:

98. November 17, 2017 at approx.16:30:00 Stanley Daves was called to the sally port in E
unit for another legal visit with attorney Gordon Sanchez.
99. The Plaintiff states that on this occasion he was not directed to wheel himself over to B

y

unit in order to access the alleged handicap elevator.

100. November 17, 2017 approx. 16:35:00. In an act of deliberate indifference to
Stanley Daves’s health the deputy refused the Plaintiff elevator services. The deputy then
directed the Plaintiff to the stairway in the E unit sally port and without any'other option
Stanley Daves was forced to climb/crawl on his hands-and knees up the two flights of
stairs in order to attend the Attorney/Client meeting.

101. November 17, 2017 approx. 16:50:00. Plaintiff states the visit ended. In an act of
deliberate indifference to Stanley Daves’s health the deputy refused the Plaintiff elevator
services in order to return to the lower level. Without the option of elevator services the
plaintiff crawled on his hands and knees back down the two flights of stairs to the safety
of the wheelchair. *

102. | On November 1 7, 2017 the Plaintiff believes that forcing him to crawl up and

, down the stairs to access programs, services and activities became a-adapted unwritten
jail policy and/or a operational procedures during/or a source of amusement to the .

defendants. :

Page 22 of 56

+ "Case No. 1:19-cv-02928-KLM Document 1 ’filed 10/15/19 USDC Colorado pg 22o0f57
Case No. 1:19-cv-02928-KLM Documeft1 filed 10/15/19 USDC Colorado pg 23 of 57

Failure to provide Access to Services (Religious)
103. November 20, 2017 10:30:00 the Plaintiff states that he was called to the sally

port to attend religious services. —

104. This was the first time he was allowed to attend religious services even though he

had made numerous requests to attend religious services dating back to mid- October.

105. As if by “jail policy and/or procedure” in an act of deliberate indifference to
Stanley Daves’s health the deputy refused the Plaintiff elevator services. Without any
other option Stanley Daves was forced to climb/crawl on his hands and knees up the two

flights of stairs in order to attend Religious services. ;

106. November 20, 2017 approx. 11:30:00. Plaintiff states the services ended.

107. ‘As if by “jail policy and/or procedure” and without elevator service and/or
assistance from the defendants the plaintiff was forced to crawl his way back down the
two flights of stairs to the safety of the wheelchair.

Failure to provide humane and ADA compliant Housing:
108: On or about November 23, 201 7 the Plaintiff was accused of being involved ina

physical altercation with another prisoner in cell 696.

109. ° Plaintiff states he was removed from living unit E-6 then questioned by deputy

Stanley Watson concerning the alleged altercation.
110. Stanley Daves refused to give a statement other then, he doesn’t recall.

111. Stanley Daves ‘subsequently sent to the medical unit for the next 24 hours,

allegedly for observation due to his lapse of memory.

Ae

Page 23 of 56
Case No. 1:19-cv-Q2928-KLM Document 1 filed 10/15/19 USDC Colorado pg’24 of 57

4 a
t

112. ‘Stanley Daves was put in a cold corner cell (corner cell.are notorious for being:
. . t&
cold and sometime referred to as “the Cooler”) on the floor of the cell on a "boat" for 24
hour observation. This posed an issue for the plaintiff because of his disability and his

ar

. shoulder injury.

113. Stanley Daves etidded up staying awake all night due to pain and the cold. He

’ states that not once was his vital signs taken nor was ‘he ever looked in on by medical

+

‘staff throughout the night. . . : ‘

t
4 ™f

2
114.. On or around November 24, 2017 Stanley Daves was released from the medical
unit and sent back to E unit. Upon his arrival and in spite of the plaintiff's disability and
- recent injury the Defendant Deputy Stanley Watson informed him that all the cells in unit

E-6 were full and he was to be housed in the unit common area on the floor on-a boat.

i

115. Stanley Daves was once again put on the floor on a boat but this time he was
. “housed in the cOmmon area of the unit.
. .
116. Because of Stanley Daves being disabled and the untreated shoulder injury he,
found it extremely painful, difficult and at times éven impossible for him to pick himself
up off the floor and in to the wheelchair without the help of other prisoners in order-to *
access the restroom and retrieve his meals. .

4s

117. *"On or around November 27, 2017 Stanley Daves was moved irito cell 690. Cell E-
. 690 has a history of flooding and is not ADA approved cell. As there was no handrails

and the sink was inaccessible.from a wheelchair.

+

» +118. From November 27, 2017 to June 12, 2018 Plaintiff states that cell 690 had issues
with periodic flooding caused by faulty common drain linked to cell 690 ahd a toilet that
was set on a timer that often backup. and overflow forcing’ the plaintiff and his cellmate to
live with standing sewage water and human waste on the cell floor for up to 3 days i ina’

row.

Page 24 of 56
Casé No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 25 of 57

y
“119, The Plaintiff states that flooding of cell 690 was not an isolated circumstance.
r ‘ :

120. The Plaintiff recalls no less than three instances of cell E-690 flooding and left in
disrepair for more than seventy two hours before maintenance would come and unclog
the drains. :

121. Because of Stanley Daves disability, and the pain and discomfort fromi the
shoulder injury and the lack of handrails his basic human needs of using the toilet,
washing his hands or getting a drink of water was made unreasonable difficult. For the
next six plus months Stanley experienced severe pain and discomfort trying to get on and

off the toilet. He also had issues wiping himself after defecating due to ‘the shoulder

injury.

“422. : The Plaintiff states that the basic human needs of getting a drink of water was
made unreasonably difficult because of inaccessible placement of the sink in cell 690
from a wheelchair.

“123. As if that wasn’t enough punishment Stanley Daves as stated earlier in the
complaint, Stanley was being treated for a large open wound on his left leg, stump. |

‘Stanley also has a history of contracting MURSA. Both of these issues are well-
documented history in his ACDF-medical records and therefore are to be considered
“fact”! While being forced to live in cell 690 with standing waste water, sewage and
human waste on the cell floor: Stanley did in fact contract a MURSA infection on his
face. ‘Not only did he contract MURSA he mysteriously contracted a severe fungal

infection on the stunip of his amputee leg before he was transferred to C.D.O.C.

124. The Plaintiff was forced to reside in’ that cell up until June 12th at which time he
was transferred to the Colorado Department of Corrections still suffering from serious
injuries, confined to a wheelchair with a new impairment, MURSA, a severe fungal

t

infection on the back of his amputated leg and stump. This was the result of the inhuman

Page 25 of 56
Case No. 1:19-cv-02928-KLM Document 1, filed 10/15/19 USDC Colorado pg 26 of 57

conditions of cell 690 and once again Adams County Defendants failure to operate

ACDF in a constitutional and legal manner. ‘ 3
£

y

Failure to provide elevator services:

125. ‘On December 01; 2017 10: 30:00 The Plaintiff was called to the sally port for a
legal visit.

' t

126. ° Once’'again as if by “j ail policy and/or procedure the Plaintiff was ditected to the
stairs in E-unit:sally port.” In an act of deliberate indifference to Stanley Daves’s health
the deputies Adam Mohr and/or Stanley Watson refused the Plaintiff elevator services.
Without any other option Stanley Daves was forced to climb/crawl on his-hands and.
knees up the two flights of stairs in order to attend the Attorney/Client meeting

127. Upon arrival to the upper E-unit sally port the Plaintiff discovered that the 7

attorney waiting in the visiting booth was not his attorney. , '

4
r

I ‘ ° 4

128. The attorney, Mr. McDavid fromi the Public Defender Office was looking for a
Mr. Davis “not the Plaintiff Mr. Daves,” = ,

129. Mr. McDavid was clearly, in a State of dismay after witnessing the Plaintiff crawl

as

up the stairs on his hands and knees. !

130. Mr. McDavid-quéstioned Stanley.Daves as to why he had just witnessed him
crawling up the stairs on his hands and knees. Stanley explained to the attorney that, that

~ was just what the deputies make him do in order to access the upper level of the facility. °

131. The attorney asked the plaintiff a few more questions. The Plaintiff and the '

Attorney exchanged contact information then parted ways. '

Page 26 of 56:

{ f-
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 27 of 57 -

132. Plaintiff states that as if by. “Jail policy and/or procedure” In‘an act of deliberate
indifference to Stanley Daves’s health the deputies Adam Mohr and/or Stanley Watson
refused the Plaintiff elevator services. Without any other option Stanley Daves was
forced to crawl on his hands and knees down the two flights of stairs to the safety of the

wheelchair in the lower section of the sally port.

133. Clearly this had become an unwritten operational procedure adopted by the
' deputies and jail staff. :
134, December 0 01, 2017 Plaintiff states that during the stair crawling Defendants

deputy Stanley Watson and Deputy J ohn Doe 4 were laughing and making derogatory
statements about the Plaintiffs disability and referring to him as if he were a dog and
mentioning something about the plaintiff filing grievances.

r

135, Deputy Stanley Watson commenting to another deputy that he wasn't afraid of

t

being sued, that anything he did was covered by the county.

,

136. On or around December 07, 2017 the plaintiff was finely allowed to see Medical
” Provider Doctor Rose for the shoulder injury. During the examination Doctor Rose's

- bedside manner was that, that insinuated the Plaintiff was a nuisance and faking the

injury.

137. After performing a series of motion test to the Plaintiff s right shoulder Doctor

Rose told the Plaintiff that he could not find anything wrong but, ordered X-rays.

138. December 16, 2017 Plaintiff was called to the E unit sally port to meet with
Chaplin McDonald concerning the issue he was having being forced to crawl up and
down the stairs to attend religious services. In response to a kite Stanley Daves sent to the

Chaplains office still trying to remedy the situation of the stairs.

Page 27 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 28 of 57

139, The Plaintiff states that Chaplin McDonald did nothing to resolve the problem.
Her only suggestion was for the Plaintiff to write more kites.
“4
140. Later on December 16, 2017 Stanley’ Daves was called to the sally port for
religious services presented by Volunteer Ronny from Faith Bible Chapel. The Defendant
" Deputy Cruz was the floor deputy on duty in E-unit.

141. . The Plaintiff states that as if by ‘ ail. policy’ or procedure” and without the offer of
‘ an altemative, assistance or elevator services. The Defendant, Deputy Cruz forced the

Plaintiff to crawl/climb up two flights of stairs in order to attend religious services,

142. Mr. Daves states that after the services ended, as if by “jail policy or procedure”
he was forced to crawl back down the two flights of stairs in order to reach the safety of
the wheelchair.

t

143. Stanley Daves’ was forced’to crawl on his hands and knees down the two flights of , :
stairs. During his crawl he injured his right knee on the hard surface of the stairs.
144. Stanley Daves informed Deputy Cruz of his injury and as if by jail policy Deputy

Cruz made no attempt to get the Plaintiff medical attention.

145. Deputy Cruz only response was to tell the Plaintiff that he would have to submit a

medical kite.

146. The Plaintiff states that he submitted a médical kite during the pm med line.
_ 147. December 19, 2017 4:25 pm. Mr. Daves submitted a Jail Operations Step 1
Grievance. Plaintiff states "I am looking for alternatives to crawl/climbing the stairs for

légal visits and programs." Without response. , a

q

Page 28 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 29 of 57

Failure to provide Medical Services:

148. * -December 26, 2017 Plaintiff met with Doctor Rose. Doctor Rose gave plaintiff a
brief summary of the X-ray results. Stating he had found no issues. Doctor Rose °
preformed another series of motion test. Doctor Rose then prescribed the plaintiff

Neroproxin for pain which plaintiff states he did not receive for 48 hours.

‘149, December 28, 2017 Plaintiff states he had still not received the Neroproxin
medication. By not giving the Plaintiff prescribed med defendants failed to provide
medical services:

. ft

150. December 29, 2017 4:37pm. Plaintiff filed the step 2 Medical Grievance stating
he was in extremé shoulder pain and that he still had not received the prescribed
medication ordered on December 26, 2017.

Failure to provide elevator services:

151. January 02, 2018. At approx. 11:55am the plaintiff was called to the sally port for

another legal visit. Defendant Deputy Kleen was the unit deputy on duty.

152. _—Pillaintiff states that once again, as if by jail policy and/or procedure he was

directed to the stairs.

153. Stanley Daves was never offered elevator services or alternatives means of
. . .
attending the legal visit and/or religious services other than crawling up the stairs on his

hands and knees.
154. January 02, 2018. At approx, 12:10:00 Plaintiff states that as he reached the first

flight of.stairs Mr. Henry Sapp, the tower guard in E unit yelled down to him in disbelief.
saying, “WTF Daves”? Why are you crawling up though stairs?"

Page 29 of 56
Case Na. 1:19-cv-02928-KLM Document 1 filed 10/15/19 . USDC Colorado. ‘bg 30 of 57

1

155. Mr. Sipe then. ordered the plaintiff to stay put, not to move. Mr. Sapp then ordered
the E unit tier porters to go up the stairs and assist the plaintiff up the remaining flight of
stairs and to make sure Mr. Daves did not fall.

156. The Plaintiff told Mr. Sapp that that was just what the deputies have been making

him’do if he wanted, to attend legal visits or religious Services.

157. January 02, 2018 approx. 12:20pm Plaintiff proceeded to his legal visit with the ,

assistance of the porters.

158. January 02, 2018. Approx. 12:55pm Plaintiff states the legal visit ended. At Which
time Mr. Sipe instructed the plaintiff to wait in’ the visiting booth for Deputy Kleen’ to

arrive with the wheelchair to assist him down.

Access of programs, services and activities remedy
159. On J anuary 02, 2018, at approx. 1:00:00 Deputy Kleen arrived to the visiting
" booth with plaintiff's wheelchair.

*
+

160. The Plaintiff climbed into the wheelchair and.in-spite of his painful i injuries,
wheeled himself alongside of Deputy Kleen through E unit programs into a ‘long hallway,

up a steep hill to a service elevator.

161. Deputy Kleen explained that this elevator was mainly used by the attorneys when
-’ visiting their clients. Deputy Kleen pushed the down button on thé elevator access panel
and the elevator door opened. “NO KEY REQUIRED”!
162. Deputy Kleen expressed his amazement as to why the Plaintiff had been being
forced to climb/crawl up and down the stairs in order to attend services of at any kind: How

ridiculous and unnecessary it all was.

‘Page 300f56 ,
Case No. 1:19-cv-02928-KLM Document 1’ filed 10/15/19 USDC Colorado’ pg 31 of 57

163. Deputy Kleen and the Plaintiff took the elevator down to the lower F unit. After
going-through a door on the left of the elevator they entered a very large visiting réom
‘consisting of a large number of face to face visiting booths: located in the middle of the

room set two enclosed visiting booths used for attorney client legal visit...

t

164. Deputy Kleen and the Plaintiff exited the visiting room ending up in lower F main

hallway not 200 feet from the Plaintiffs cell.

165. Directly across from the visiting center door set a bank of two more elevators.
“NO KEY REQUIRED”!
166. Deputy Kleen expressed-his amazement as to why the Defendants made the

Plaintiff wheel himself all the way to B unit to use an elevator when.F unit visiting was
on’ the lower level right around the corner from E unit where the’ Plaintiff was being
housed.

167. Seconds later the Plaintiff arrival back to E unit cell 690. safely, educated and
disturbed.

168. The Plaintiff states that from January 2, 2018 through June .12; 2018 at times he
was’still having crawl/hopping up and/or down the stairs but he was also being escorted
by deputies through F unit using any of the three of the elevators located in F unit

t

hallway. \-
toy - : ‘ '

169. . April 30, 2018 the Plaintiff was called to the E unit sally‘port for religious’ ;
services where he met Deputy Ryan McCarthy. Deptity McCarthy explained to the
Plaintiff as he awaited approval to escort the Plaintiff to bible study that he would no
longer be allowed to be escorted to religious services or legal visits by order of his

Sergeant Commander Wise and/or Wright.

+

t Page 31 of 56
Case No. 1:19-cv-02928-KLM Document 1‘ filed’10/13/19 USDC Calorado pg 32 of 57

nt ‘ ‘

170. Deputy. McCarthy stated that the reason given to him by his Sergeant Commander

was that it went against jail operational policy and procedures.

”

ae

171. Deputy McCarthy also stated that the ACDF Command Staff was in the process
of scheduling a meeting with Sheriff Michael Macintosh and policy makers concerning
the old policy that was the driving force to Stanley Daves Being forced to crawl up and

»down the stairs and that the new policy would have the.Plaintiffs name attached.

172. Deputy Brown interrupted deputy McKarthy and the Plaintiff's conversation and

ordered the Plaintiff to wheel himself out in to E unit corridor in avery aggressive

t manner.

‘

¥ t

173. Defendant deputy Brown told the Plaintiff that according to "Jail policy and -
as procedures” neither he nor other deputy were obligated to escort him to Biblé Study or
any other | program for that’ matter and that the Plaintiff should be grateful “that he was
; even being allowed to attend any programs. That he could give a shit about the Plaintft

being disabled. . : ‘

$

174, The: Plaintiff states that at that point he told Deputy Brown to forget it. That he |
would just have to file ‘step three grievance. At which time Deputy Brown tried to get the
‘Plaintiff to fight him by getting in his face and calling him offensive and disrespectful

names and getting in his face. (intimidation)

' .
- Medical Services, failure to follow treatment plan: ,
175. February 07, 201 8, The Plaintiff was taken to Platte Valley M Medical Center for a

medical evaluation for’ his shoulder i injury. : 6

4

* - 176. The Plaintiff.was examined by Ms. Corbyn Werzbinski PT. DPT. for his right
shoulder i injury. -

we

* Page 32 of 56
Case No. 1:19-ctv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 33 of 57

t

b

177... Uponcompletion of the examination Ms. Corbyn Werzbinski PT. DPT..

proceeded to show the plaintiff a series of exercises for him to do on daily basis.

178. Ms. Corbyn. Werzbinski PT. DPT. Then wrote an order to ACDF and C.C:S.
stating the plaintiff was to do the prescribed physical therapy exercises on a-daily basis as

ordered using the three rubber exercise bands she included in the packet along with a

vf

follow-up return date.

179. Stanley Daves was allowed to go to the medical unit for P/T for a short time .
before Defendants Deputies Brown, Anderson, Thornton and other un-named jail staff
began to treat Stanley Daves as a nuisance, not a patient seeking medical treatment and:
stopped allowing him access to the medical unit not only for P/T but the use of the ADA
approved shower and eventually wound care as well. The deputies and medical staff
explained to the Plaintiff, alleging that the medical unit was often too busy to
accommodate his needs and therefore taken off the list for the day. However, in spite of
the excuses given to the Plaintiff other prisoners in E unit was continually being allowed

_to go to the medical unit for various reasons. Upon their return they told the Plaintiff that .
-in fact the medical unit was not busy. One time in particular a prisoner returned to E unit
and said that the staff was sitting around talking smack about various prisoners’ including

him, laughing and making fun of the plaintiffs disability.

180. The plaintiff distinctly remembers Defendant Deputy Anderson being named as

the instigator behind this. And further more recalls othér instances wheré Deputy
Anderson and Brown made dero gatory statements about the Plaintiff and his disability.

181. Stanley Daves was in constant pain and discomfort due to the injury(s) and being
confined to the wheelchair. He continued to write kites to Doctor Rose and C.C.S.
requesting. further medical attention and an MRI. Once again being told by C.C.S

employees Katelyn, Jane Doe One, Two and.Three that he was on the providers list and

would be seen in due time.

Page 33 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorada pg 34 of 57

‘
t

182. Stanley Daves filed and exhausted the grievance process concerning the lack of

7

medical care.

183. On March 23, 2018 Stanley Daves was seen by Doctor Rose for a follow-up
appointment concerning his shoulder injury. The Plaintiff explained that the ‘pain and
discomfort caused by.the shoulder injury was not improving and in fact was getting
worse. He went on to explain that being confined to the wheelchair only aggravated the”
inj ury and was causing him other issues concerning his ability to perform basic human
needs such ‘as getting on and off the toilet even being able to properly wipe himself after

f
defecating.

184. Doctor Rose for the most part ignored Stanley’s complaints informed ‘the plaintiff
that he would be going back to Platte Valley Medical Center for the follow-up i in the near
future. ‘

185. The plaintiff informed Doctor Rose of the situation with the deputies and medical
staff treating him with deliberate indifference to his medical needs by not allowing him’

‘daily access to medical services and ordered: by Dr. Rose. o

186. After being transferred to C.D.0.C Stanley Daves made a reqiiest’to C.D.O.C.
medical providers to view his medical records from ACDF. The medical provider stated
a
the records did not follow him to C.D.O.C. Stanley then asked the C.D.O.C, medical

provider summons his medical records from ACDF. Upon review of these records he

a

discovered in the notes from February 07, 2018 Ms. Corbyn Werzbinski made a
diagnosis of a torn rotator-cuff in the right shoulder. “

187. ‘C.CS. Doctor Christopher Rose in spite of Stanley Daves’s complaining about
the obvious pain, discomfort and the mobility issues he was having due to the injury and
his disability Doctor Rose continued to downplay the extent of Stanley Daves’s injury(s):

188. As if by ACDF and/or C.C.S. “policy(s) and/or procedure(s) Dr. Rose conceal the
fact that Ms. Corbyn Werzbinski PT. DP diagnosed the injury as a probable “torn rotatér

2

q

Page 34 of 56 ; ”

ve
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 35 of 57

'
i

cuff injury” delaying the follow-up appointment with Ms. Corbyn Werzbinski with the
hope that Stanley Daves would be released or transferred before the delay became too
‘ ¢ “

‘obvious.

189. Adams County Defendants, C.C.S. and Doctor Rose refused Stanley Daves
request for a much needed MRI to correctly and positively diagnose the extent of the. “

plaintiffs’ injury(s)

190. The Adams County Defendants, C.C.S. and/or Doctor Christopher Rose went as
: far as to “shop around for a diagnosis and treatment plan that was more in line with the
Adams County Deféndants and C.C.S. policy(s) to avoid prisoner medical care costs,
expenses as well as to divert-liability. This was apparent when Stanley Daves was never
taken back to Platte Valley Medical ‘Hospital for his follow up appointment instead the
Plaintiff was taken to another Physical Therapy provider for another evaluation with the

4

same results as the first.

191. On June 12,2018 as contracted by Adams County Defendants and the State of )
Colorado Stanley Daves was transferred to the Colorado Department of Corrections. As
if by. policy(s) and/or procedure Stanley Daves severe bodily, emotional and
constitutional injuries sustained while under the care supervision of the Adams County.
Defendants, Correct Care Salutations (WellCare), Sheriff Deputies at ACDF went

untreated.

192. Stanley Daves entered C.D.O.C. in an Adams County issued wheelchair, a severe
right shoulder and knee injury, MURSA‘and a festering severe fungal infection. What

weren’t allowed to go with him were his prosthetic leg and his medical records.

Refusing the Plaintiff his constitutional rights to necessary medical mobility devise
(Prosthetic leg)
193. As stated in paragraph’44 Stanley Daves prosthetic leg was taken and put into

property. Stanley Daves’s disability does not require him to be confined to a wheelchair.
i

Page 35 of 56
Case No. 1:19-ev-02928-KLM Document 1 ‘filed 10/15/19 USDC Colorado pg 36 of 57

q

He was put in the wheelchair because the intake nurse Jane Doe One refused to give him
‘

, crutches stating it was a security risk.
'

t
194, ‘The fact is that Stanley Daves has been jailed numerous times never was his

"yy

refused crutches if his prosthetic leg was taken.

' “

195. The Plaintiff made no qualms about it at that time because first and far most, he :
‘did not want. to be permanently housé i in the medical unit. Secondly, he did hot believe he
would be detained at ACDF for.any extended amount of time. Last but not least, quite
frankly he needed a break from wearing his prosthetic leg. Stanley had developed an
ulcerated sore on his stump that was in need of treatment. Stanley Daves has always been
a positive person. Stanley has overcome a lot of adversity i in his life. Finding good in the
worse of circumstances. A true believer in “everything happens for areason”. After .
recovering from the shock of being‘arrested Stanley reverted back to positive thinking. In
that maybe all of this was happening for the simple fact that he needed a chance to heal
his wounds.

196. By October 20" Stanley Daves had become content with his current situation of -
*. being detained at the ACDF. He had met with dn attorney on October 9"". the wheels of
justice were now turning in his favor. Hé had even adjusted to being temporarily confined

to the wheelchair: "As it turned out, the ‘sheriff deputies i inE unit like to play musical

chairs. “Often taking most of the chairs out of the unit in the middle of the night and
putting them in the prograins room on the upper level. When morning chow rolled around
the majority of prisoners wouldn’t have anywhere to sit and eat. The wheelchair turned

t
into a convenience more than a hindrance. The power of positive thinking in action. _

he
*
* ‘

197, As established within all the Paragraphs of this complaint; the Plaintiffs’ world
was turned upside down. The wheelchair turned convenience now created a nightmare.
After two months of having to crawl up and-down stairs on his hands and knees the
plaintiff finely had enough: On or around December 07, 2017 Stanley Daves met with
C.C.S. employee, Dr. Christopher Rose concerning his shoulder injury, During the

a

Page 36 of 56 , a

as

4
Case No: 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 37 of 57

meeting the Plaintiff explained the situation and asked Doctor Rose to have his prosthetic
leg made available to his prosthetic provider at Adaptec Prosthetic in order to make
necessary adjustment in order for the Plaintiff to resume wearing his prosthesis.

198. Doctor Rose diverted the subject by saying he would have to check with the

- facility commanders.

199. Stanley Daves met with both his mental health counselor and case manager from
* the Adams County Community Reach Center. Asking for their assistance with having ,
Adaptec Orthopedic and Prosthetics come to the jail to make the needed adjustment done
_ on his prosthetic leg so he can start wearing it. According to the Adams County
Community Reach employees this request was denied by the ‘Adams County Defendants.
and/or C.C.S. Defendants.

200. _ Ata later date while meeting with Doctor Rose the Plaintiff was informed that the
request had been denied on the grounds 6f it creating an “unnecessary financial burden" °
on the ACDF. .

*
¢

201. The Plaintiff explained to Doctor Rose that there would not be any costs attached
to servicing of the prosthesis. That any and all adjustment and repairs needed on the
prosthetic leg would be done free of charge therefore would be no financial burden on

. »  ACDF. Doctor Rose continued to deny the plaintiffs request for a medical devise.

202. The Defendants, Adams County Defendants and C.C.S. violated the Plaintiffs
Rights under the ADA Title II Failure to accommodate.

203. “ Adams County Government, Sheriff and C.C.S. should be held liable for a
"Policy" of minimizing medical costs, delaying treatment and refusing to accommodate a
disabled prisoner.

*
t

Page 37 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 38 of 57

. ¢ ‘ . : ' 4
. ~
:

at

a

V. CLAIMS FOR RELIEF:
FIRST CLAIM FOR RELIEF: mf ‘ 7

‘

204. 42 US. C. § 1983 First Amendment - guarantee of freedom of speech association.

pe

and petition; whereas the State cannot impede an individual's ability to consult counsel ¢ on

i ‘legal matters. Furthermore, the right to obtain legal advice does not depend on the

€

purpose for which the advise was sdught.(Against Adams County Defendants.)

¥

+
‘

205. Plaintiff hereby incorporate all paragraphs of this Complaint as if fully set forth
herein.
_ 206. Adams County’ Defendarits are persons within the meaning of 42 U.S.C. § 1983.
i . , 4, ’
. 207. At all times relevant to the allegations in this Complaint, Adams County

Defendants were acting under color of state law and had a: legal obligation to provide: .

constitutionally adequate access to court services and attorney/client privileges for

a

“Detainees “without interference: -

x,

208! Stanley Daves had a clearly established tight under the Fi irst Amendment to'the
United States Constitution to freedom of Speech association and petition; whereas the»

State cannot impede an individual's ability to consult counsel on legal matters,
a

209. ‘. Each individual Defendant knew or : should have known of this clearly established

right at the time Stanley Daves injuries occurred. -

210:° The Plaintiffs First Amendment right was clearly violated by-the Defendants
failure to operate a “Detention Facility” in a Constitutional and lawful manner by.
continually impeding his ability to consult counsel on two fronts: ‘
‘a. Failing to allow him elevator services to and from the upper level of the fet to
. where, by: “jail, policy and/or procedure” attorney/client visits were conducted,
forcing him to abandon his" ‘wheelchair and crawl, on his hands and knees up and

down two flights of stairs in order to meet with his attorneys. 1
he

e
+ .
, “ york

4 . Page 38 of 56 :
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 39 of 57

Jf

‘b. Refusing to provide telephone Service(s) in order for the plaintiff to keep in
contact and consult with counsel and family. Thereby leaving the Plaintiff

incommunicado for 36 days. '

211. . Theacts or omissions of each individual Defendant were. the legal and proximate

cause of Stanley Daves’ S injuries.
z

.

212. The acts and omissions of each individual Defendant caused Stanley Daves
damages in that he suffered loss of “Liberty and Property”.

213.., Because Stanley was left in a state of incommunicado with his attorneys and
family for 36 days his entire estate valued at more the one hundred fifty thousand dollars
was lost by default. Depriving him of “Property”. Making it impossible for him to secure.
the funds necessary to: -

a. Make Bond set at one hundred fifty thousand dollars. Depriving him of “Liberty”.
b. Pay his defense attorney(s) retainer fees of twenty thousand dollars. Leaving him
is a state of dismay adding to the extreme physical and mental pain he suffered

while he was in Defendants’ custody.

214.. The intentional actions or inactions of each individual Defendant as described
herein intentionally deprived Stanley Daves of his First Amendment Right guarantee of
freedom of speech association and petition;-whereas the State cannot impede an
individual's ability to consult counsel on legal matters, and of rights, privileges, liberties,
and immunities secured by the Constitution of the United States of America, and caused

him other damages.

ay . Page 39 of 56
~ Case No. 1:19-cv-02928-KLM Document1 filed 10/15/19 USDC Colorado pg 40 of 57’

ft!

SECOND CLAIM FOR RELIEF: ~~

215. 42 U.S.C. § 1983 Sixth Amendment - The Constitutional Right to effective
assistance of counsel, and jail procedures ‘that cause “unreasonable interference with
Stanley Daves’s ability to consult with counsel. (Against Adams,County Defendant, .

Adams County Sheriff Deputy’Stanley Watson). .

y

- 216. Plaintiff hereby incorporate all paragraphs of this Complaint as if fully set forth
herein. :
217. Adams County Defendants are persons within the meaning of 42 U.S.C. § 1983.
218. * At all times relevant to the allegations in this Complaint, Adams County ‘

Defendants were acting under color of state law and had a non-delegable duty to operate

a “Detention Facility” in a Constitutional and legal manner.

219. Stanley Daves was a citizen of the United States and all of the individual
Defendants are.persons under 42 U.S.C. § 1983.

220. - Stanley Daves had a clearly established right under the Sixth Amendment to the
United States Constitution to the effective assistance of counsel without Government

interference.

221. At all times relevant to the allegations in this Complaint, each individual
Defendant knew of or should have known and disregarded the unconstitutionality of their

*“Policy(s), Procedures and/or Actions. «

222. The Adams County Defendants and named and unnamed Sheriff Deputies by
policy(s) and/or jail procedures caused “unreasonable interference with Stanley Daves’s
ability to consult with counsel. The unreasonable interference came in two’ forms:

a. Access to services including the use of a telephone for a period of thirty six.days.

4

Page 40 of 56

4
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 41 0f57 ©

b. Elevator services to and from the upper level of the facility to where by jail
policy(s) and/or procedures the attorney/clierit meetings took place. Thereby Forcing
him out of his wheelchair to attempt to ascend and descend two flights of stairs on
his hands and knees in order, to meet with counsel. These unconstitutional acts

created a huge amount of stress, anxiety, fear, and imbarrassment to Stanley Daves

mental state and sense of wellbeing.

223. The acts or omissions of each individual Defendant were the legal and proxirhate

cause of Stanley Daves’s injuries.

224. The acts and omissions ‘ofeach individual Defendant caused Stanley Daves
damages in that he suffered loss of “Liberty and Property” and extreme physical and

mental pain while he was in Defendants’ custody.

225. The intentional actions or inactions of each individual Defendant as described
herein intentionally deprived Stanley Daves of his Sixth Amendment Constitutional Right
to effective assistance of counsel, and jail procédures that cause “unreasonable
interference with Stanley Daves’s ability to consult with counsel, and of rights,
privileges, liberties,,and immunities secured by the Constitution of the United States of

America, and caused him other damages.

“THIRD CLAIM FOR RELIEF:
226. _~42US.C. § 1983 Fourteenth Amendment - Failure to Provide Medical Care and
Treatment (Against All Defendants)

*
t P

227. Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set
forth theréin.
228. At all times relevant to the allegations in this Complaint, Defendants were acting

under color of state law.

Page 41 of 56 4
Case No, 1:19-cv-02928-KLM Document 1 ‘filed ‘10/15/19 USDC Colorado pg 42 of 57 |

1

229. Stanley Daves was a citizen of the United States atid all of the individual
.Defendants are persons under 42 U.S.C. § 1983.

k t Noy

230. Stanley Daves had a clearly established right under the F ourteenth Amendment to
. the United Statés Constitution to be free from deliberate indifference to his known

‘serious medical needs. ; «

b
‘

231. Each individual Defendant knew or should have known of this clearly established
right at the time of Stanley Daves injuries.

232. At all times relevant to the allegations in this Complaint, each individual
Defendant knew of and disregarded the excessive risks associated with Stanley Daves’s

2 . 4

disability and serious medical condition.

*

»

233. ~ Nevertheless, with deliberate indifference to Stanley Daves’s constitutional right |
to adequate medical care, as provided by the Due Process Clause of the Fourteenth .
Amendment to the United States Constitution, Defendants knowingly failed to examine,
. treat, and/or care for Stanley Daves’s condition for four months after Stanley was injured
at the hands of the Defendants. They did so despite their knowledge of Stanley Davés’s
: serious medical needs; thereby placing him at risk of serious physical, mental'and .
emotional harm. Therefore, Defendants knew or were ‘aware that Stanley Daves faced a
substantial risk of harm and disregarded this exéessive risk by failing to take’ measures to

reduive it. © '

a
s

234. ‘When Stanley’ Daves alerted each individual Defendant to his need for medical
assistance, Defendants acted with deliberate indifference to Stanley Daves’ S readily
apparent need for medical attention and his constitutional rights by refusing to obtain and

, provide any, medical treatment for him.

235. All‘of the deliberately indifferent acts of each individual Defendant were

‘+ conducted within the scope of their official duties and employment.

Page 42 of 56.
Case No. 1:19-cv-02928-KEM Document 1 filed 10/15/19 USDC Colorado. pg 43 of 57,

236. The acts or omissions of each individual Defendants were the'legal and proximate
‘cause of Stanley Daves’s injuries.
237. The acts and omissions of each individual Defendant caused Stanley Daves
, damages in that he suffered extreme physical and mental pain while he was in

Defendants’ custody.. :

f

238. The intentional actions or inactiéns of each individual Defendants as described
herein intentionally deprived Stanley Daves of due process and of rights, privileges,
liberties, and immunities secured by thé Constitution of the United States of America, -

and caused him other damages.

FORTH CLAIM FOR-RELIEF:
239, 42 U.S.C. § 1983 Fourteenth Amendment — ‘Municipal Liability (Against Adams
County Defendants and C.C.S. WellCare) 4
240. Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set
forth herein. .
241. Adams County Defendants and C.C.S: WellCare are persons within the meaning
%

of 42 U.S:C. § 1983.° > , os

242. At all times relevant to the allegations in this Complaint, Adams County —
Defendants were acting under color of state law and had a non-delegable duty to provide
constitutionally adequate medical care for Detainees. ,

243. At all times relevant hereto C.C.S. WellCare was willfully a participant in a joint
activity and acting urider color of state law, as the legal and functional equivalent of a

municipality providing medical care to Detainee’s.

Page 43 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 44 of 57

5 . . i.
4 < 1 j ~ . -

t »
; "
+ .

‘ 244, * The intentional acts or omissions of Adams County Defendants and C.C.S.

i s+

WellCare were conducted within the scope of their official duties and“employment.

t

'
2Y oy

245. _ CCS. WellCare and Adams County, Defendants’ deliberately indifferent and

+

unconstitutional policies, customs, and/or practices regarding provision of | ,

”

* constitutionally adequate medical c care as described were the moving and proximate cause-

of Stanley Daves’ s injuries.

n
t

246. C.C.S. WellCare and Adams County Defendants deliberately indifferently failed »

to properly train and supervise their employees to provide necessary medical care to

detainees at ACDF:

»

x
”

* 3 ‘

247. , The’ failures i in training, Supervision, and policy regarding providing: necessary : "

medical assessment and. care were so obvious that the failure to provide medical *
assessment and care was deliberately indifferent to ihe tights of Stanley Daves and the ,
public.
; : ne
248. | CCS. WellCare and Adams County Defendants’ deliberately indifferent "
customs, ahd failures to train/supervise; are all actionable policy decisions that were

moving forces and proximate causes of the violation of Stanley Daves’s constitutional

+
: iq

rights. , ‘

i .#

. t
sy . 1 2
‘
; 4 . a

249. The policies, customs, and practicés of C.C.S. WellCare and Adams,County
_ Defendants as described herein were“also’ moving forces in and proximate causes of the
" deprivation of Stanley Daves’s right to due process and of the rights, privileges, liberties,

, and immunities secured by, the Constitution of the United States of América, and caused

a

Plaintiff other damages. mo, ‘

« ‘ ! ‘
250. Adams ‘County, Defendants are also directly liable for their own policies and
actions that. are ‘moving forces i in this constitutional’ injury under the contract between

. Adams County and C.CS. WellCare, as Adams County and Sheriff Michael, McIntosh

J“ +
4

Page 44 of 56
Case No. 1:19-cv-02928-KLM Document 1 ‘filed 10/15/19 USDC Colorado pg 45 of 57

* i

participated in negotiating and sponsoring this contract despite the knowledge of C.C.S.
WellCare pervasive pattern of civil rights and human rights violations.
FIFTH CLAIM FOR RELIEF: .
251. “42 U.S.C. § 1983 Fourteenth Amendment - Due Process Clause “No Punishment”.
(Against All Defendants),

¥

252. Plaintiff hereby incorporate all paragraphs of this Complaint as if fully’ set forth
therein. ‘
253. At all times’relevant to the allegations in this Complaint, Defendants were-acting

under color of state law.

ot

a

254. Stanley Daves was a citizen of the United States and all of the individual

Defendants are persons under 42 U.S.C. § 1983.

255. Stanley Daves had a.clearly established right under the Fourteenth Amendment
“Due Process Clause “to the United States Constitution to be free from “Punishment”,

and/or deliberate indifference to his health, safety and well-being.

256. Each individual Defendant knew or should have known of this clearly established.

right(s) at the.time Stanley Daves injuries occurred.

257. . At all times relevant to the allegations in this Complaint, each individual
Defendant knew of and disregardéd the excessive risks associated with Stanley Daves, an
“at risk disabled adult” being forced to hop, crawl and/or climb/descend two flights of
stairs on numerous occasions. Refusing him services (elevator) of a federally funded
establishment. Forcing him to live in Inhumane living conditions. All of which cannot be
considered anything less than Punishment and infliction of pain through a course of

conduct that shocks the conscience.

Page 45 of 56
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 46-of 57

258. Nevertheless, with deliberate indifference to Stanley Daves constitutional right to
be free from Punishment as provided by the Due Process Clause of the Fourteenth
Amendment to the United States Constitution, Defendants knowingly, intentionally and
maliciously failed to provide safé and reasonable access to program, services resulting in
Stanley Daves injuries. They did so despite their knowledge of Stanley Daves disability
thereby placing him at risk of serious physical and mental injury. Therefore, Defendants
knew or were aware that Stanley Daves faced a substantial risk of harm and. disregarded
this excessive risk by failing to take measures to reduce ‘it by providing elevator services
or other means and/or locations for the Plaintiff to attend programs and services at bare
minimum. Inhumane living conditions as in being forced to live in a flooded cell and
- exposure to Sewage water consisting of feces and other human waste for up to seventy

two hours on numerous occasions. All of these unconstitutional acts committed through a.

course of conduct that shocks the conscience.
259. Each and every one of the: Defendants had a duty to ensure the safety and well-

being of detainees and Stanley Daves i in ACDF.

260. 278. Each and every one of the Defendants failed to discharge these duties. -

261. All Defendants acted intentionally i in failing to adequately i insure the safety and
well being of Stanley Daves and that he was treated in accordance with the United States
Constitution.

7

262. Ali Defendants are responsible'for their actions and was the moving force and

proximate cause of the violations of Stanley Daves’s constitutional rights.

t
4

263. The acts or omissions of All Defendants caused Stanley Daves damages in that he

suffered extreme physical and mental pain during the approximately eight months.

i

Page 46 of 56
Case No. 1:19-cv-02928-KLM * Document 1. filed 10/15/19 USDC Colorado pg 47 of 57

SIXTH CLAIM FOR RELIEF:

264. 42 U.S.C. § 1983 Fourteenth Amendment — Municipal Liability (Against Adams
County Defendants).

265. Plaintiff hereby incorporate all other paragraphs of this Complaint as if fully set
forth herein.

266. Adams County Defendants are persons within the meaning of 42 U.S.C. § 1983.

267. At all times relevant to the allegations in this Complaint; Adams County.

Defendants were acting under color of state law and had duty to operate ACDF ina

constitutional and legal manner.

268. The intentional acts or omissions of Adams County Defendants and were

conducted within the scope of their official duties and employment.

269. Adams County Defendants’ deliberately indifferent and unconstitutional policies,
* ,customs, and/or practices regarding and provision of constitutionally adequate access to
services; programs and activities as described were the moving and proximate cause of
Stanley Daves Physical Emotional and Constitutional injuries. . '
s :
270. Adams County Defendants deliberately indifferently failed to properly train and
supervise their employees to provide safe access to services programs and activates and |

to detainees and Stanley Daves at ACDF.

271., The failures in training, supervision, and policy regarding providing access to
programs, services and/or activities were so obvious that the failure to provide medical

assessment and care was deliberately indifferent to the rights of Stanley Daves, and the

4

public. .

Page 47 of 56
Case No. 1:°19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 48 oF 57. -

i

2
‘ . a :

272. Adams County Defendants’ ‘deliberately indifferent customs, and failures to
train/supervise, are all actionable policy decisions that were moving forces and proximate
causes of thé violation of Stanley Daves constitutional rights.

4

° 273. _ The policies, customs, and practices of Adams ‘County Defendants as described
herein were" also moving forces in and proximate causes of the deprivation of Stanley
Daves right to’due process and of the rights, privileges, liberties, and imminities secured
by the Constitution of the United States of America, and caused Plaintiff other damages.

5

274, Adams County Defendants are also directly liable for their own policies,

procedures and/or actions in that they were moving forces in this constitutional injury(s) ,

including civil rights and human rights violations.

SEVENTH CLAIM FOR RELIEF:

275. 42 U.S.C. § 1983 Fourteenth Amendment — Equal Protection Failure (Against All
Defendants) “ ‘
¥ ?
276. Plaintiff hereby incorporates all other paragraphs including 115 through 131 of

this Complaint as if fully-set forth herein.

’ ‘

*
7
4

277. By their actions, as described herein, Defendants, under color of statute,

ordinance, regulation, custom, or usage, subjected Plaintiff to the deprivation of the

rights, privileges, or immunities secured by the Constitution and laws of the United

States.

278. Defendants discriminated against the Plaintiff, i in whole or in part, because of his
status as an at risk adult with a disability, denying him equal protection under the law as

required under the Fourteenth Amendment to the U.S. Constitution.

279. AS stated i in paragraphs 115 through 131 Plaintiff-was housed in a cell that was

prone to extensive and frequent flooding, consisting of sewage water, human feces and

Page 48 of 56

ae
. Case’ No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 49 of 57

t

other by products. In spite of the Plaintiffs disabilities the cell was not equipped for
disabled wheelchair, bound prisoners. Combine that with the injuries the Plaintiff
‘sustained Making the very basics'of human need unreasonable difficult and/or
impossible. This is based, in whole ‘or.in part, on his disabilities or manifestations of his

disabilities.

280. __ Persons ‘without disabilities were not subjected to the abuses the Plaintiff was
subjected to, as described herein. This difference in treatment was due, in whole or part,
to Plaintiff's status as a person with disabilities. This abusive and illegal treatment was
reserved solely for persons with disabilities.

281. Adams County Defendants decision to treat disabled prisoners, including

_ Plaintiff, worse.than the rest of the prisoner population is unconstitutional.

282. There is no rational basis for a ACDF policy(s) that would force anyone to live in
cell conditions crawl on their hands and knees up and down stairs in order to attend any
programs, services and/or activities offered the general population at ACDF. However,
the acts and/or omissions of the Adams County Defendants to impose such conditions on
persohs with disabilities, including Plaintiff shocks the conscience, and cannot be
justified as relating to any rational basis.

283. - The acts or omission’ of Adams County Defendants were conducted within the
scope of their official duties and employment under color of law.

284. The actions of all Defendants, as described herein, intentionally deprived Plaintiff
of the securities, rights, privileges, liberties, and immunities secured by the’ Constitution
of the United States of America, and caused him other damages in amounts to be

ascertained at trial.

t

EIGHT CLAIM FOR RELIEF: -

Page 49 of 56 ”
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colorado pg 50of 57 -

285. | (42 U.S.C. § 1983) Supervisory Liability, Failure to Train and Supervise.
(Against Adams County Defendants, Sheriff Michael MelIntosh, and Commander Mykelann

Wise). pore ‘

a
S

286. Thereby incorporates all other paragraphs of the Complaint as if fully set forth
herein. to Oo : sy

Q

287. . The Supervisory Defendants each have duties to train and supervise Sheriff
.- Deputies, medical personal, and other Adams County einployees, and other personnél i in |

* order to énsure the safety and well-being of “Detainees” entrusted to their care and

Bo iz

_ supervision. . . Do,

. 4 t ‘
.288. Each of the Supervisory Defendants (Adams County Defendants, C.C.S. . .

(WellCare), Commander Wise and other unnamed Defendants) failed to discharge these

, 3 : 4
4 ' i 5

duties. . fo “ ‘
: ; :

’ E

289. - The Supervisory Defendants acted intentionally in failing to adequately train and

+

supervise Sheriff Deputies, medical and other personnel.

290. Asa result, Defendants regularly violatéd the Plaintiffs constitutional rights by

their failures to operate ACDF in a professional and constitutional manner in violation of
State and Federal Laws in violation of his constitutional rights.. :

.? t . 7 4
4 “ye

291; The deliberately indifferent unconstitutional actions ofall Defendants has caused
Stanley significant trauma, financial and personal losses that have all but destroyed his:
positive outlook on life and the justice system and humanity in general. This abuse has
‘also made him more fearful of Sheriff Deputies and other authority figures, The Plaintiff
already struggling against serious disabilities, including PTSD. The illegal actions of the

Defendants have made’ Stanley Daves’s’life immensely more difficult financially, .

¥

emotionally and medically and this will continue indefinitely. , e

4 '
4

Page 50 of 56 . i

* . . i
Case No. 1:19-cv-02928-KkM Document 1 filed 10/15/19 USDC Colorado pg 51 of 57

292. Had the Supervisory Defendants made any effort to properly train and supervise
the other Defendants, Plaintiff would not likely | have suffered these egregious and"
conscience- shocking abuses by Defendants, nor would. Plaintiff have likely sustained the

damages that he had sustained and will sustain in the future.

293. The Supervisory Defendants’ failure to properly train and supervise their
subordinate employees was the moving force and proximate cause of the violation of

Plaintiff's constitutional rights as described herein:

294. The’acts and/or omissions of Defendants were conducted within the scope of their .

official duties and employment and under color of law.

295. The acts and/or omissions of the Supervisory Defendants caused Plaintiff's
damages in that he suffered extreme physical and mental pain during the many months of

abuse that he endured and the lasting damage that he will endure in the future.

'
*

296. The actions of the Supervisory Defendants, as described herein, deprived Plaintiff
of the rights, privileges, liberties, and immunities secured by the Constitution of the

, United States of America, and caused him other lasting damages.

NINTH CLAIM FOR RELIEF: .
297. VIOLATION OF SECTION 504'OF THE REHABILITATION ACT OF 1973
(29 U.S.C. §§ 794 et seq.) (All-Defendants)

t

¥ ‘E t

298. “Plaintiff hereby incorporates all other paragraphs of the Complaint as if fully set
forth herein.
299. Section 504’of the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 794

(“Section 504”), and the regulations promulgated there under, 34 C.F.R. Part 104,
prohibit discrimination against persons with disabilities. Stanley Daves has multiple

disabilities as alleged previously and is a protected person under Section 504.

Page 51 of 56
Case No. 1:19-cv-02928-KLM Document1 filed 10/15/19 USDC Colorado pg 52 of 57

‘

- 300. Section 504 prohibits the exclusion from the participation in, or being denied the
benefits of, or being subjected to discrimination under, any program or activity receiving
federal financial assistance. Congressional authority to condition federal funding under
this Act is derived from the enumerated powers contained in Article 1, Section 8 of the
U.S. Constitution.

4

301. Adams County Detention Facility is a recipient of federal financial assistance.

»
' t

. 302. The practices described above, including but not limited to, forcing Stanley Daves
to crawl up and down stairs on his hands and knees in order to attend attorney/clients
meeting and Religious services Plaintiff were discriminatory and denied Plaintiff the
benefits of participation ina public run facility.

303. ., ‘Detainees without disabilities were not subjected to the abuses the Plaintiff. was
subjected to, as described herein. Plaintiff was mistreated in violation of law as a direct
result of his disabilities, and the manifestation of these disabilities.

‘

304. Detainees without disabilities were not subjected to the‘abuses the Plaintiff was

. subjected to, as described herein. This difference in treatment was due, in whole or part,

to Plaintiff's status as a person with disabilities, on persons without disabilities. No other

prisoners were subject the.treatment that Stanley Daves was subject to in order to benefit
from programs, services and/ or activities offered at and by ACDF: This abusive and

‘illegal treatment was reserved solely for persons with disabilities.

«
to,
i

:
305. Defendants have violated Plaintiff's rights under Section 504 and the regulations
promulgated there under by denying Plaintiff the benefits of receiving full and equal

access to the services, programs and activities offered within the Adams County

Detention Facility.

Page 52 of 56

Case No. 1:19-tv-02928-KLM Document1 filed 10/15/19 USDC Colorado” pg 53 of 57 |

+
gue

306. | | Defendant’s practices were intentionally discriminatory and were taken with

deliberate indiffererice to the strong likelihood that the practices would result in a
‘violation of Plaintiff's federally protected rights. .

307. As a direct and proximate result of Defendant’s violation of Section 504, Plaintiff
has suffered, continues to suffer, and will suffer in the future damages to his person
including, but not limited to, pain, humiliation, anxiety, mental anguish, emotional
distress, and damage to his personal relations i in amounts to be ascertained according to

, pre of at trial.
TENTH CLAIM FOR: RELIEF: » :
308. ‘VIOLATION OF THE AMERICANS WITH DISABILITIES ACT (“ADA”) (42

U.S.C. §§12131 et ség.) (All Defendants)

309. Plaintiff hereby incorporates all othe paragraphs of this Complaint as if fully ‘set
forth herein. ,
310. Title If of the ADA, 42 U.S.C. §12131:et seq. and the regulations there under, 28°

C.F.R. Part 35, governing state and local governmental entities, protects persons from
discrimination on the basis of disability by public entities. Stanley Daves is a at risk
disabled adult as alleged previously and is a protected person under the ADA.
“311. | The ADA prohibits the exclusion from participation in, or being denied the
benefits of the services, programs, or activities of the public entity, or being subjected to
discrimination by such entity.
312. | The discriminatory practices described herein excluded Plaintiff from
participating in and receiving the benefits regularly” dfforded to non disabled detainees at

the ACDF including but not limited to reasonable access to court services, religious

. . es . . h. ot
services, and medical care. Services as simple as safely transporting the Plaintiff back

Page 53 of 56
Case No. 1:19-cv-02928-KLM Document 1° filed 10/15/19 USDC Colorado pg 54 of 57

t

t a

+
r

Ls *
and forth between floors of the facility in an elevator could not be accomplished in a

constitutional manner.
+ t 4 t
.

313. The Defendant’s practices were intentionally discriminatory and exhibited a -
deliberate indifference to the strong likelihood that the pursuit of these practices would

result ina violation of Plaintiffs federally protected rights.

314. Each. of the Deféndants violated Plaintiff's rights under the ADA and the
regulations promulgated there under, denying Plaintiff the benefits of the services.
programs, and activities to which he was otherwise entitled from the Adams County’
Defendants. Plaintiff was mistreated i in violation of law as a direct result of his

disabilities, and the manifestation of these disabilities.

z

'

315. Detainees without disabilities were not subjected to the abuses the Plaintiff was
subjected ‘to, as described herein. This difference in treatment was due, in whole or part,
i
to Plaintiff's status as a person with disabilities, ‘on persons without disabilities. This

* “abusive and illegal treatment was reserved solely for persons with disabilities.

¥

1,
. 7

316. As adirect and proximate result of Defendants’ violation of the ADA, Plaintiff
has suffered and continues'to_ suffer i injuries to his person, including, but pot limited to,
pain, ‘humiliation, anxiety, mental anguish, emotional distress and damage to his personal
relations in amounts to be ascertained according to proof at trial. .

ELEVENTH CLAIM FOR RELIEF:
(Against all Defendants)

4

317. Plaintiff hereby incorporates all L other paragraphs of this Complaint as if fully set
forth herein. .
‘318. As a result of the deliberate indifference and/or negligence of Defendants as

described above

‘ .
e 4 tm

Page 54 of 56-
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC’Colorado pg 55 of 57

i
8
\

319. Stanley Daves has suffered injuries and damages, including, but not; limited, to the
_ expenses related to the complete loss of his estate, emotional distress and pain and
suffering, and loss of enjoyment of life. Expenses related to his prosthetic leg, médical
expenses related to his shoulder injury including physical and occupational therapy r
before and after shoulder surgery, medical expenses related to confinement to the
wheelchair including but not limited to physical and occupational therapy, mental health

treatment and therapy.
331. PRAYER FOR RELIEF WHEREFORE, Plaintiff respectfully request that this Court
enter judgment in his favor and against Defendants, and grant:
* (a) Appropriate relief at law and equity;
(b) Declaratory relief and other appropriate equitable relief:
(c) Economic losses on all claims allowed by law;
(d) Compensatory and consequential damages, including damages for emotional distress,
humiliation, loss of enjoyment of life, and other pain and suffering on all claims allowed by law
in an amount to be determined at trial; .
(e) Punitive damages on all claims allowed by law and in an amount to ‘be determined at trial;
(f) Attorneys’ fees and the costs associated with this action, including expert witness fees, on all
claims allowed by law;
(g) Pre- and post-judgment interest at the highest lawful rate;
(h) Any further relief that this Court deems just and proper, and any other reliéf as allowed by

law.
PLAINTIFF HEREBY DEMAND A JURY TRIAL: ON ALL ISSUES SO TRIABLE.

Stanley Eugene Daves seeks a trial by jury on all issues so triable.

Respectfully submitted this 14TH day of October, 2019.

tanley Eugene Daves roy

Page 55 of 56

é
.
*
i
4
«
‘
“
| ‘
5
os
+
+
oF
*
*
¥
1
.
t
‘
k
'
+
’
*
‘
2
»
,
ae » +
& 1
:
.
1
~
y
4
1
. ;
‘
hy t
. t
. j
r
. >
’ 4
a
5 A
! *
!
\
4
at 2
*
‘
.
2
‘
*
*
‘
: ~
' b

t

Case No. 1:19-cv-02928-KLM~ Document 1 filed 10/15/19 USDC Colorado pg 56 of 57

,
'
4 t
ty 4
. t
‘
.
£
5
+ a
.
¥
,
.
,
.
§
’
+
r 5 ’ .
4
.
,
.
,
3
4
4
te
4
1 ’
ns
, ae
4
to
.
‘ =
at
, .
* .
t
Page 56 of 56
:
%

i
3 t
a 1 .
4
i
t
q ’
r . i
«
4 F -
‘
3 ’
< e
.
1+ .
.
*
’ . ’
i
x
a .
&
?
. *
‘ L
» a
‘s 4
' ‘
4g
t ' : i
r
, a ‘
“> ,
a4
*
r
‘
?
a
“y
4
vy r
* * ‘
"4
“ .
. : 8
& . 4
* +
a : y a
i
4 . . .
e -
t
x 4 ‘
. whe ,
t
rig ’ ‘ . , *
» t :
4
i ,
t
& 1
¥
2
4
’ + >
+
* +.
“
a
‘
ate
» °
. 4
’ s * ‘
* t 5
’
~ a
a e
4 >F *
a
t
4
4 m
i ‘ .
¥ a
: i tog :
: Be a
1 =
‘ r
y
t
» % .
a
2
. .
1 ‘
. 7 i
Se a »
* * 4 :
. +t
‘
* .
. } 4
* eof
. i
a 3 ay z
Case No. 1:19-cv-02928-KLM Document 1 filed 10/15/19 USDC Colerado pg 57 of 57:

zs.
4 .

JS 44 (Rev 06/17) _ District of Colorado , CIVIL COVER SHEET

The JS 44 civil cover sheet and the mformation contained herein'neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
* provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, 1s required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM. D +
I. (a) PLAINTIFFS stanley E. Daves . DEFENDANTS Adams County Government, Adams County
Detention Facility, Sheriff M. Macintosh, sheriff deputies. Correct Care
‘ solutions/WellCare Inc. , employees of all listed above
. . oe _ « . oo, '
(b) County’ of Residence of First Listed Plaintiff Adams County County of Residence of First Listed Defendant _Adams County
. (EXCEPT IN US PLAINTIFF CASES) ‘ (INU.S PLAINTIFF CASES ONLY)
1 NOTE. INLAND CONDEMNATION CASES, USE THE LOCATION OF
. THE TRACT OF LAND INVOLVED
(c) Attorneys (Firm Name, Address, and Telephone Number) + N sAttorneys (if Known) .
N/A - -
t , “
4
a _ . ~ a “
II. BASIS OF J URISDICTION (Place an “X” in One Box Only) . Ii. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plamnuff *
. us (For Diversity Cases Only) * and One Box for Defendant)
O11 U.S Government 3 Federal Question : ‘ PTF DEF : PIF” DEF-
, Plaintiff (US Government Not a Party) Cutizen of This State (K1  & 1 Incorporated or Pnncipal Place Ws a
. . . * 1 , tou ‘ of Business In This State ": .
"y - ‘
1 2 U.S Government 1 4 Diversity ca ‘ Citizen of Another State G2 © 2 Incorporated and Principal Place as a5
. * Defendant . (Indycate Citizenship of Parties in Item I) * of Business In Another State .
‘ “ 4
4 ’ e Citizen or Subject of a °O3 © 3 Foreign Nation , O06 6
7 Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) . ‘Click here for. Nature of Suit Code Descriptions.
(CONTRACT TORTS FORFEITURE/PENALTY | ___ BANKRUPTCY | OTHER STATUTES
0 110 Insurance PERSONAL INJURY PERSONAL INJURY = |{ 625 Drug Related Seizure O 422 Appeal 28 USC 158 C1 375 False Clams Act .
1 120 Manne © 310 Airplane OF 365 Personal Injury - of Property 21 USC 881 |O 423 Withdrawal ‘ O 376 Qui Tam (31 USC
CF 130 Miller Act 0 315 Arrplane Product . Product Liability 0 690 Other , 28 USC 157 . ‘ 3729(a))
G 140 Negotiable Instrument : Liability C1 367 Health Care/* © 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical . 3 PROPERTY RIGHTS. 0 410 Antitrust
'& Enforcement of Judgment Slander Personal Injury ’ 820 Copynghts . O 430 Banks and Banking
151 Medicare Act CO) 330 Federal Employers’ Product Liability O 830 Patent 450 Commerce
C1 152 Recovery of Defaulted Liability * (1 368 Asbestos Personal (7 835 Patent - Abbreviated 1 460 Deportation
Student Loans © 340 Marine » Injury Product : : New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) (1 345 Marine Product * * Liability ‘ *{0 840 Trad k Corrupt Organizations
1 153 Recovery of Overpayment Liability i PERSONAL PROPERTY J. : LABOR -. SQCIAL SECURITY >| 480 Consumer Credit
of Veteran’s Benefits "| 0 350 Motor Vehicle G 370 Other Fraud C710 Fair Labor Standards O 861 HIA (1395ff) J 490 Cable/Sat TV
160 Stockholders’ Suits © 355 Motor Vehicle 371 Truth in Lending Act D 862 Black Lung (923) , | O 850 Securities/Commodities/
CG 190 Other Contract ah Product Liability © 380 Other Personal 0 720 Labor/Management 0 863 DIWC/DIWW (405(g)) _ Exchange
*195 Contract Product Liability | 0 360 Other Personal Property Damage Relations 1) 864 SSID Title XVI, © 890 Other Statutory Actions
O 196 Franchise . . Injury 1 385 Property Damage © 740 Raslway Labor Act O 865 RSI (405(g)) © 891 Agricultural Acts
0 362 Personal Injury - Product Liability O 751 Family and Medical , O 893 Environmental Matters
eek » Medical Malpractice Leave Act 4 1 * 0 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 790 Other Labor Litigation FEDERAL TAX SUITS "| - Act ,
@ 210 Land Condemnation 0) 440 Other Civil Raghts Habeas Corpus: O 791 Employee Retirement 0 870 Taxes (U.S. Plamtiff + [1 896 Arbitration .
0 220 Foreclosure 0 441 Voung O 463 Alien Detainee Income Security Act _ or Defendant) 1 899 Admunistratrve Procedure
© 230 Rent Lease & Ejectment 0 442 Employmént 1 510 Motions to Vacate G 871 IRS—Third Party 5 Act/Review or Appeal of
0 240 Torts to Land O 443 Housing/ , Sentence ; . 26 USC 7609 Agency Décision
(1 245 Tort Product Liability * Accommodations C1 530 General O 950 Consttutionality of
C1 290 All Other Real Property OG 445 Amer. w/Disabilities - | 535 Death Penalty - IMMIGRATION State Statutes
Employment * Other: ‘ © 462 Naturalization Application
. (K 446 Amer. w/Disabilitiés’- | 540 Mandamus & Other © 465 Other Immigration '
4 Other C 550 Civil Rights Actions .
’ ( 448 Education O 555 Prison Condition ,
oF 7 1 560 Civil Detamee -
Conditions of t
. Confinement ,, " ’
V. ORIGIN (Place an “X” mm One Box Only) , ; '
X1 Original 142 Removed from GO 3 Remanded from‘ C4 Reinstatedor O 5 Transferred from © 6 Multidistrict ° CO 8 ‘Multidistrict
» Proceeding State Court ‘ Appellate Court Reopened Another District + Litigation - Litigation- +
. " . ‘ (specify) Transfer Drrect File
. Cite the US Crvil Statute under which you are filing (Do not cite jurisdictional untess diversity) - 7?
4 + ‘ _ a a x 42 U.S.C. § 198
VI. (CAUSE OF ACTION Brief description of cause: | . AP Docket
VII. REQUESTED IN Cl CHECK IF THIS IS A CLASS ACTION DEMAND §$, CHECK YES only if demanded in complaint.
COMPLAINT: UNDER RULE 23, F.R Cy P’ ~ JURY DEMAND: {Yes No
“VIII. RELATED CASE(S) : : ’
¢ : "(See mstructions) ‘ . :
IF ANY JUDGE DOCKET NUMBER _ .
DATE ve . . . SIGNATURE OF ATTORNEY OF RECORD +
} ' at *
FOR OFFICE USE ONLY '
RECEIPT # AMOUNT APPLYING IFP . JUDGE MAG. JUDGE
OO a ‘ OO ¢
